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                                             ORDERED.

          Dated: October 23, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov

In re :                                                      Case Number 6:19-bk-05570-CCJ
                                                             Chapter 7

Ilia A. Schulz,
                             Debtor(s).
______________________________________/

                  ORDER AUTHORIZING EMPLOYMENT OF SPECIAL COUNSEL

           THIS CASE came on for consideration of the application to employ Kristen L. Henkel and the law
firm of M. E. Henkel, P.A., as Special Counsel for the bankruptcy estate, dated October 21, 2019 (docket
no. 15). Having reviewed the Application, the file, and being otherwise apprised of the matter,
Accordingly, it is
           ORDERED that the Application to Employ Kristen L. Henkel and the law firm of M. E. Henkel,
           P.A., as Special Counsel for the bankruptcy estate (docket no. 15), is approved;
    1. Based upon the facts set forth in the application and declaration by the proposed attorney, the Court
           concludes that the Special Counsel does not hold or represent an interest adverse to the estate and
           is a disinterested person within the meaning of § 101(14) of the Bankruptcy Code. The Court
           further concludes that the Special Counsel is qualified to represent the trustee and that the Court’s
           authorization of the Special Counsel’s employment is in the best interest of the estate; and
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    2. The Court approves the employment of Kristen L. Henkel and the law firm of M. E. Henkel, P.A.
        Compensation for legal services performed to obtain approval of said sale shall be
        determined upon proper application, in accordance with § 330 of the Bankruptcy Code, and such
        attorney’s fee will be paid only after application and Order. Compensation will be determined
        later in accordance with 11 U.S.C. § 330. The hourly rate is not guaranteed and is subject to
        review.




Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do
not receive service by CM/ECF and file a proof of services within 3 days of entry of the Order.
